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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       No. 21-CR-383 (BAH)
               v.                             :
PATRICK STEDMAN                               :

______________________________________________________________________________

    DEFENDANT STEDMAN’S REPLY TO GOVERNMENT MOTION IN LIMINE
    REGARDING CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESS
                               (Docket Entry 45)
______________________________________________________________________________

       This memorandum is in response to the government’s motion in limine to limit the cross-

examination of witnesses with the Secret Service Agency, pursuant to Fed. R. Evid. 401, 403,

and 611(b), filed at docket entry 45 (DDE 45). Specifically, the government seeks an order

               limiting the cross-examination of the Secret Service witnesses to
               questioning about the function performed by the Secret Service as testified
               to on direct exam, in this case protecting the Vice President and his family,
               … [and] specifically foreclose[ing][Mr. Stedman] from questioning the
               witnesses about the following:
                       1. Secret Service protocols related to the locations where
               protectees or their motorcades are taken at the Capitol or other
               government buildings when emergencies occur; and
                       2. Details about the nature of Secret Service protective details,
               such as the number and type of agents the Secret Service assigns to
               protectees.
GT Motion at 2 (DDE 45). Mr. Stedman does not presently intend to inquire into those specific

details. Mr. Stedman is mindful of what the government contends are security concerns about

such information. However, this is the type of evidentiary issue that needs to be determined in




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the context of trial and the other evidence that the government presents (testimonial or otherwise)

before it properly can be determined.

       The Court should deny the government’s motion as premature and should reserve any

decision on such evidentiary issues if and when they arise at trial. Defense counsel of course,

considering this motion and the defense position in response, would agree to advise the Court

and the government at sidebar before asking questions of the nature sought to be precluded by

the government in its motion.

                                                     Respectfully submitted,

                                                     Law Offices of Rocco C. Cipparone, Jr.

                                        BY:          /s/Rocco C. Cipparone, Jr.
                                                     Rocco C. Cipparone, Jr., Esquire




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                                    CERTIFICATE OF SERVICE

       The undersigned certifies that on April 19, 2023, I caused a copy of the within document

to be served on all parties listed on the Electronic Case Filing (ECF) System, by means of filing

those documents on the ECF system.




                                                     Law Offices of Rocco C. Cipparone, Jr.

                                     BY:             /s/Rocco C. Cipparone, Jr.
                                                     Rocco C. Cipparone, Jr., Esquire




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